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 7                         UNITED STATES DISTRICT COURT
 8                        EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               Case No. 12CR0315-JAM
10                                  )
                    Plaintiff,      )
11                                  )               ORDER TO MODIFY
          v.                        )               CONDITIONS OF RELEASE
12                                  )
     MICHAEL LLAMAS,                )
13                                  )
                    Defendant.      )
14   ______________________________)
15
16         IT IS HEREBY ORDERED that Mr. Michael Llamas shall be allowed to travel
17   abroad from December 30, 2016 and return January 4, 2017. Pretrial Services shall return
18   Mr. Llamas’ passport which he is ordered to return to Pretrial Services upon his return.
19   Mr. Llamas has submitted his itinerary to Pretrial Services, and he is ordered to contact
20   Pretrial Services upon his return.
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22   Dated: 12/28/16                                /s/ John A. Mendez
23                                                  HONORABLE JOHN A. MENDEZ
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